      Case 2:17-cv-00597-DS Document 10 Filed 09/20/17 PageID.31 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


TREVOR KELLEY,                             Case No. 2:17-cv-00597-DS

             Plaintiff,
                                           ORDER RE PLAINTIFF’S MOTION TO
 v.                                        DISMISS WITH PREJUDICE

CARTER’S RETAIL,
                                           Assigned to Honorable David Sam
             Defendant.



         Having considered Plaintiff’s Motion to Dismiss with Prejudice, and good cause

appearing,

         IT IS HEREBY ORDERED dismissing this matter with prejudice.



         SO ORDERED this 20th day of September, 2017.



                                                 BY THE COURT:



                                                 ______________________________

                                                 U.S. DISTRICT JUDGE DAVID SAM




                                             1
